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18

19                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
20
                                         SAN FRANCISCO DIVISION
21

22   IN RE OPENAI CHATGPT LITIGATION                       Master File Case No. 3:23-CV-03223-AMO

23     is document relates to:                             JOINT STIPULATION AND [PROPOSED]
                                                           ORDER TO EXTEND CASE DEADLINES
24                                                         PURSUANT TO LOCAL RULE 6-2
     Case No. 3:23-cv-03223-AMO
25   Case No. 3:23-cv-03416-AMO                            Judge: Hon. Araceli Martínez-Olguín
     Case No. 3:23-cv-04625-AMO
26                                                         Date Filed: June 28, 2023

27

28

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                  JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND CASE DEADLINES
                                     PURSUANT TO LOCAL RULE 6-2
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 1                        JOINT STIPULATION TO EXTEND CASE DEADLINES

 2             Pursuant to Local Civil Rules 6-2 and 7-12, and Federal Rule of Civil Procedure Rule

 3   16(b)(4), the parties in the above-captioned action hereby stipulate and agree as follows:

 4             WHEREAS, at the initial case management conference on October 5, 2023, the Court

 5   entered a case management schedule through the deadlines for replies to motions for class

 6   certification and any Daubert motions (Dkt. 75 at 13:15–14:8, 16:20–22);

 7             WHEREAS, on August 16, 2024, the parties jointly submitted a stipulation seeking to

 8   extend the case deadlines by 90 days (ECF No. 172), which the Court granted on August 19, 2024

 9   (ECF No. 173);

10             WHEREAS, under the current schedule, the close of fact discovery is set for January 27,

11   2025, and the other current case deadlines for expert discovery and for briefing class certification

12   and Daubert motions are set for thereafter (ECF No. 173);

13             WHEREAS, no trial date has been entered (see ECF No. 173);

14             WHEREAS, actions raising substantially similar claims are proceeding concurrently in the

15   United States District Court for the Southern District of New York (“S.D.N.Y. Actions”)1;

16             WHEREAS, Judge Illman ordered the parties to “streamlin[e] discovery coordination and
17   deposition procedures” across the instant action (“N.D. Cal. Action”) and the S.D.N.Y. Actions
18   (ECF No. 144);
19             WHEREAS, Judge Illman expressed “concerns about duplicative depositions on the same
20   topics constituting an avoidable burden and a waste of resources.” (ECF No. 144);
21             WHEREAS, the parties have been diligently and regularly meeting and conferring,
22   including with the parties to the S.D.N.Y. Actions, in an eﬀort to comply with Judge Illman’s order
23

24
     1
         e class cases pending in the Southern District of New York include Authors Guild, et al., v.
25   OpenAI, Inc., et al., No. 23-CV-8292 (S.D.N.Y.); Alter, et al., v. OpenAI, Inc., et al., No. 23-CV-
     10211 (S.D.N.Y.); and Basbanes, et al., v. Microsoft Corp., et al., No. 24-CV-84 (S.D.N.Y.). In
26   addition, individual newspaper plaintiﬀs have filed cases bringing similar claims in the Southern
27   District of New York. E.g., N.Y. Times Co. v. Microsoft Corp., et al., No. 23-CV-11195 (S.D.N.Y.);
     Daily News, LP v. Microsoft Corp., et al., No. 24-cv-3285 (S.D.N.Y.); e Center for Investigative
28   Reporting v. OpenAI, Inc., et al., No. 24-cv-04872 (S.D.N.Y.) (the “Newspaper Actions”).

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 1   to coordinate discovery including depositions in order to avoid duplicative discovery, while

 2   concurrently advancing this litigation;

 3             WHEREAS, document discovery is ongoing and the parties are meeting and conferring on

 4   several document discovery-related items, and they expect to continue to do so in a continuing

 5   eﬀort to narrow current disputes between them;

 6             WHEREAS, the parties remain mindful of Magistrate Judge Illman’s Order to cooperate on

 7   discovery with the S.D.N.Y. Actions in order to minimize duplication and maximize judicial

 8   economy;

 9             WHEREAS, the parties have yet to notice depositions because they have been conferring

10   with counsel in the S.D.N.Y. Actions in order to secure a formal deposition protocol coordinating

11   depositions across the actions;

12             WHEREAS, given the present fact discovery deadline of January 27, 2025, and in light of

13   recent developments in the S.D.N.Y. Actions, deposition coordination with the S.D.N.Y Actions

14   will not be possible absent a reasonable extension of case deadlines;

15             WHEREAS, on October 30, 2024, the court in the S.D.N.Y. Actions held an Omnibus In-

16   Person Status Conference during which the court recognized the S.D.N.Y. Actions are still in their

17   “early stages” (Ex. A, Tr., 6:23) and “in the midst of document production” (id. at 8:24-25);

18             WHEREAS, the court in the S.D.N.Y. Actions also stated that the “proposals and

19   percolating disputes about limitations, depositions or coordinated deposition protocol, . . . are

20   premature right now.” Id. at 8:21-23;

21             WHEREAS, the parties to the N.D. Cal. Action agree that an extension of the case schedule

22   is necessary in part to continue eﬀorts to coordinate discovery with the S.D.N.Y. Actions in order

23   minimize duplication and burdens, and maximize judicial eﬃciency2; and

24             WHEREAS, along with this Stipulation and Proposed Order, counsel for Plaintiﬀs will file

25   a declaration in compliance with Local Civil Rule 6-2.

26
     2
27    To the extent the case schedule in the S.D.N.Y. Actions is extended beyond the new deadlines
     proposed herein, the parties to the N.D. Cal. Action may request a further extension of the case
28   schedule here.

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 1          NOW THEREFORE, the parties agree and stipulate and respectfully request that the

 2   current case deadlines be extended as follows:

 3

 4
                          Case Event                          Previous Deadline      New Deadline
 5
                                                Fact Discovery
 6
         Substantial completion of document
 7                                                            September 12, 2024    January 27, 2025
         productions
 8       Close of fact discovery                               January 27, 2025      July 25, 2025
 9
                                                Expert Reports
10
         Expert reports on issues on which a party has          April 14, 2025      October 14, 2025
11       the burden of proof

12       Opposing / rebuttal expert reports                     May 12, 2025       November 12, 2025

13       Close of expert discovery                              June 11, 2025      December 18, 2025
14
                                               Daubert Motions
15
         Daubert motions                                         July 9, 2025       January 16, 2026
16

17       Oppositions to Daubert motions                        August 21, 2025     February 27, 2026

18       Replies in support of Daubert motions                September 22, 2025    March 27, 2026
19                                        Class Certification Motions
20
         Motion for class certification                          July 9, 2025       January 16, 2026
21
         Opposition to class certification motion              August 21, 2025     February 27, 2026
22

23       Reply in support of class certification motion       September 22, 2025    March 27, 2026

24

25          To the extent it would be helpful to the Court, the parties are available to attend a case

26   management conference set for as soon as the Court may be available to discuss any questions the

27   Court may have regarding the parties’ proposal.

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 1   Dated: November 8, 2024                  By:          /s/ Joseph R. Saveri
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17

18
                                     SIGNATURE ATTESTATION
19
            Pursuant to Local Rule 5–1(i)(3), I attest under penalty of perjury that concurrence in the
20
     filing of this document has been obtained from the other signatories to this stipulation.
21
      Dated: November 8, 2024                     By:        /s/ Joseph R. Saveri
22
                                                                 Joseph R. Saveri
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 1                     [PROPOSED] ORDER EXTENDING CASE DEADLINES

 2            PURSUANT TO STIPULATION AND FINDING GOOD CAUSE, IT IS SO ORDERED.

 3

 4   Dated:                              By:

 5                                             THE HONORABLE ARACELI MARTÍNEZ-OLGUÍN
                                               UNITED STATES DISTRICT JUDGE
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